Case 1:09-cv-23705-JAL Document 24 Entered on FLSD Docket 05/09/2012 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 09-23705-CIV-LENARD

  UNITED STATES OF AMERICA                           )
  ex rel. "JOHN DOE"                                 )
                                                     )
                                 Plaintiff,          )
  vs.                                                )
                                                     )
  MARTHA C. OROZCO; RAUL MORAL;                      )
  CM LAB, INC.; MORAL MARKETING                      )
  SERVICES, INC.; et al.                             )
                         Defendants.                 )
                                                     )

        UNITED STATES AND STATE OF FLORIDA’S NOTICE OF CONSENT TO
                                DISMISSAL
        On or about March 4, 2012, the Relator filed a Notice of Voluntary Dismissal Without

 Prejudice of his Complaint. Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(1), the

 United States of America, by its undersigned attorneys, hereby respectfully notifies the Court that

 the government consents to the entry of dismissal of Relator's Complaint without prejudice to the

 rights of the United States. The United States declines to intervene and consents to Relator's

 motion for voluntary dismissal to serve the best interests of the United States.

        In the interest of judicial economy, the State of Florida, pursuant to the Florida False

 Claims Act, Fla. Stat. § 68.083(2), has authorized the undersigned counsel to advise the Court of

 its declination to intervene and consent to Relator’s motion for voluntary dismissal.

 Dated: May 9, 2012                                      Respectfully submitted,
        Miami, Florida

                                                         WIFREDO A. FERRER
                                                         UNITED STATES ATTORNEY


                                                  By:        /s Mark Lavine
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                                                         Attorneys for United States of America
Case 1:09-cv-23705-JAL Document 24 Entered on FLSD Docket 05/09/2012 Page 2 of 3



                              CERTIFICATE OF SERVICE

        IT IS HEREBY certified that a true and correct copy of the foregoing NOTICE OF
 CONSENT TO DISMISSAL was served via U.S. Mail to those individuals identified on the
 attached Service List this __9th_ day of May, 2012:



                                                  /s Mark Lavine
                                                Mark A. Lavine
                                                Assistant United States Attorney




                                            2
Case 1:09-cv-23705-JAL Document 24 Entered on FLSD Docket 05/09/2012 Page 3 of 3



                                      SERVICE LIST
                          United States of America ex rel. John Doe
                                             v.
                                  Martha C. Orozco, et al.

                               Case No. 09-23705-CIV-LENARD

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